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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

SMARTMATIC USA CORP.,                     )
SMARTMATIC INTERNATIONAL                  )
HOLDING B.V., and SGO                     )
CORPORATION LIMITED,                      )
                                          )
                          Plaintiffs,     )
                                          )
             v.                           )    Case No. 0:22-cv-00098-WMW-JFD
                                          )
MY PILLOW, INC. and                       )
MICHAEL J. LINDELL,                       )
                                          )
                          Defendants.     )


                INDEX OF EXHIBITS IN SUPPORT OF
        DEFENDANT MICHAEL J. LINDELL’S MOTION TO DISMISS


EXHIBIT A: June 12, 2018 Letter Approving Contract with Smartmatic USA Corporation,
           from Dean C. Logan, Registrar-Recorder/County Clerk, and William Kehoe,
           Chief Information Office, to the Board of Supervisors, County of Los
           Angeles, Adopted June 12, 2018
EXHIBIT B:   June 4, 2018 Contract Between County of Los Angeles and Smartmatic USA
             Corporation for Voting Solutions for All People (VSAP) Implementation and
             Support Services
EXHIBIT C:   Resolution to Reclaim, Office of State Representative Timothy Ramthun,
             59th Assembly District
EXHIBIT D: Arizona HCR2033, Resolution to Reclaim




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Dated: March 21, 2022.                   MOHRMAN, KAARDAL &
                                         ERICKSON, P.A.

                                         /s/William F. Mohrman
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                                         Minneapolis, MN 55402
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                                         Lindell




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